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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 23-CR-20175-KMW

 UNITED STATES OF AMERICA

 vs.

 DANIEL ALBERTO CARPMAN,

                        Defendant.
                                        /

   UNITED STATES’ FIRST RESPONSE TO THE STANDING DISCOVERY ORDER

        On April 25, 2023, a federal grand jury returned an indictment against Daniel Alberto

 Carpman (the “Defendant”). Dkt. No. 3. The indictment charges the Defendant with conspiracy

 to distribute a controlled substance (Count 1) and distributing a controlled substance (Counts 2-5).

 The Defendant was arrested on April 28, 2023.

        On May 3, 2023, United States Magistrate Judge Melissa Damian arraigned the Defendant

 and entered the Standing Discovery Order. Dkt. No. 10. In response, the United States hereby

 files its First Response to the Standing Discovery Order, which complies with Local Rule 88.10

 and Federal Rule of Criminal Procedure 16.

 Rule 88.10(a):     The United States has produced or is otherwise making available to the
                    Defendant for inspection and copying all reports of law enforcement agents
                    memorializing known oral statements made by the Defendant, before or after
                    arrest, in response to interrogation by a person the Defendant knew was a
                    government agent.

                    The United States has produced or is otherwise making available to the
                    Defendant for inspection and copying all known written and recorded
                    statements made by the Defendant, before or after arrest, in response to
                    interrogation by a person the Defendant knew was a government agent.




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                  The United States has produced or is otherwise making available to the
                  Defendant for inspection and copying all known written and recorded
                  statements made by the Defendant in connection with this matter.
                  The Defendant has not testified before a grand jury in connection with the
                  charged offenses.

                  The United States has produced a copy of the Defendant’s criminal history to
                  the Defendant.

                  The United States has produced or is otherwise making available to the
                  Defendant for inspection and copying all books, papers, documents, data,
                  photographs, tangible objects, or copies or portions thereof, which are material
                  to the preparation of the Defendant’s defense, or which the United States
                  intends to use as evidence at trial to prove its case in chief, or which were
                  obtained from or belong to the Defendant. Specifically, they can be inspected
                  at a facility operated by the United States Attorney’s Office for the Southern
                  District of Florida in Miramar, Florida. Please contact FBI Special Agent
                  Matthew Lane to arrange a date and time for review that is convenient for both
                  parties; his contact information is available upon request.

                  Please be aware that these records and documents (including, but not limited to,
                  patient files and bank and financial records) contain confidential information
                  concerning individuals who are not parties to the above-referenced case,
                  including what purports to be social security numbers, and individually
                  identifiable health, medical, and financial information.

                  The documents made available pursuant to this discovery response are not
                  necessarily copies of all the books, papers, documents, etc. that the United
                  States may introduce at trial.

                  There were no physical or mental examinations nor scientific tests or
                  experiments made in connection with this case.

 Rule 88.10(b):   DEMAND FOR RECIPROCAL DISCOVERY: The United States requests
                  that the Defendant comply with the obligations that arise under Federal Rule of
                  Criminal Procedure 16(b)(1)(A) and (b)(1)(B) and Local Rule 88.10(b) and
                  hereby requests reciprocal discovery under these rules.

 Rule 88.10(c):   The United States will disclose any information or material which may be
                  favorable to the Defendant on the issue of guilt or punishment within the scope
                  of Brady v. Maryland, 383 U.S. 83 (1963), and United States v. Agurs, 427 U.S.
                  97 (1976).


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 Rule 88.10(d):   The United States shall disclose to the defense the existence and substance of
                  any payments, promises of immunity, leniency, preferential treatment, or other
                  inducements made to prospective United States witnesses, within the scope of
                  Giglio v. United States, 406 U.S. 150 (1972) and Napue v. Illinois, 260 U.S. 264
                  (1959).

 Rule 88.10(e):   The United States will disclose any prior convictions of any alleged informant
                  or witness who will testify for the United States at trial.
 Rule 88.10(f):   The United States will make available to the defense for inspection at a mutually
                  convenient time at the facility identified above any photo array or similar
                  identification proceedings in connection with the charged offenses.

 Rule 88.10(g):   The United States has advised its agents and officers involved in this case to
                  preserve all rough notes.

 Rule 88.10(h):   The United States shall timely advise the defense of its intention, if any, to
                  introduce extrinsic act evidence pursuant to Rule 404(b), Federal Rules of
                  Evidence. The defense is hereby on notice that all evidence made available for
                  inspection or statements disclosed herein or in any future discovery letter, may
                  be offered in the trial of this case, under Rule 404(b) or otherwise (including
                  the inextricably-intertwined doctrine).
 Rule 88.10(i):   The Defendant is not an aggrieved person, as defined in Title 18, United States
                  Code, Section 2510(11) of any electronic surveillance.

 Rule 88.10(j):   The United States has, or is in the process of having, transcribed the grand jury
                  testimony of all witnesses who will testify for the United States at trial.

 Rule 88.10(k):   The United States will, upon defense request, deliver to any laboratory
                  presently registered with the Attorney General in compliance with Title 21,
                  United States Code, Sections 822 and 823 and Title 21, Code of Federal
                  Regulations 1301.13, a sufficient representative sample of any alleged
                  contraband which is the subject of this indictment to allow independent
                  chemical analysis of such sample.

 Rule 88.10(l):   The United States does not know of any automobile, vessel, or aircraft
                  allegedly used in the commission of this offense that is in the United States’
                  possession.

 Rule 88.10(m):   The United States is unaware of any latent fingerprints or palm prints which
                  have been identified by a United States expert as those of the Defendant.




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 Rule 88.10(n):    The United States will make every possible effort in good faith to stipulate to all
                   facts or points of law the truth and existence of which is not contested and the
                   early resolution of which will expedite trial.

 Rule 88.10(o):    The United States will comport with the schedule of discovery as outlined in
                   Paragraph O of Local Rule 88.10.

        The United States is aware of its continuing duty to disclose newly discovered additional

 information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal

 Procedure, Brady, Giglio, Napue, and the obligation to ensure a fair trial.

        In addition to the request made above by the United States pursuant to Section B of Local

 Rule 88.10 and Federal Rule of Criminal Procedure 16(b), in accordance with Federal Rule of

 Criminal Procedure 12.1, the United States hereby demands notice of any alibi defense; the

 approximate time, date, and place of the offense is listed in the charging instrument.

 DATED: May 17, 2023



                                               Respectfully submitted,

                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY
                                               SOUTHERN DISTRICT OF FLORIDA

                                               GLENN S. LEON, CHIEF
                                               CRIMINAL DIVISION, FRAUD SECTION
                                               U.S. DEPARTMENT OF JUSTICE


                                       By:     /s/ Alexander Thor Pogozelski
                                               Alexander Thor Pogozelski
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 17, 2023, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.



                                   By:    /s/ Alexander Thor Pogozelski
                                          Alexander Pogozelski
                                          Trial Attorney
                                          United States Department of Justice




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